  Case 18-36433-KRH                      Doc 4 Filed 12/30/18 Entered 12/31/18 00:19:42                                   Desc Imaged
                                              Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Richard Clayton Snead Jr.                                         Social Security number or ITIN        xxx−xx−0673
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2              Sharon Kay Snead                                                  Social Security number or ITIN        xxx−xx−0822
(Spouse, if filing)
                      First Name   Middle Name   Last Name                              EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Virginia
                                                                                        Date case filed for chapter 7 12/27/18
Case number:          18−36433−KRH


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                        About Debtor 2:

1.     Debtor's full name                    Richard Clayton Snead Jr.                              Sharon Kay Snead

2.     All other names used in the
       last 8 years

3.     Address                               60 Cecelia Court                                        60 Cecelia Court
                                             Surry, VA 23883                                         Surry, VA 23883

4.     Debtor's attorney                     Seth Jackson Marks                                     Contact phone 804−447−1002
       Name and address                      Pagano & Marks, P.C.                                   Email: smarksster@gmail.com
                                             4510 S. Laburnum Ave.
                                             Richmond, VA 23231

5.     Bankruptcy trustee                    Bruce E. Robinson                                      Contact phone (434) 447−7922
       Name and address                      P.O. Box 538                                           Email: bruce.robinsontr@gmail.com
                                             South Hill, VA 23970−0538
                                                                                                               For more information, see page 2 >
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Debtor Richard Clayton Snead Jr. and Sharon Kay Snead                                                         Case number 18−36433−KRH


6. Bankruptcy clerk's office                     701 East Broad Street                                  For the Court:
                                                 Richmond, VA 23219
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: December 28, 2018
    www.pacer.gov.                         Contact phone 804−916−2400
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          February 4, 2019 at 09:00 AM                           Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         Office of the U.S. Trustee, 701
    questioned under oath. In a joint case,                                                             East Broad Street − Suite 4300,
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.                                                Richmond, VA 23219−1885


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: April 5, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
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Debtor Richard Clayton Snead Jr. and Sharon Kay Snead                                                          Case number 18−36433−KRH


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                       that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                       The bankruptcy clerk's office must receive the objection by the deadline to object to
                                       exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Exact Change Only accepted as of February 4, 2008, for payment of fees and services.
    Richmond Case and                  Payment may be made by non−debtor's check, money order, cashier's check or a 'not to
    Adversary Filing and               exceed check' made payable to Clerk, U.S. Bankruptcy Court, or any authorized non−debtor's
    Miscellaneous Requests             credit card.
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
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                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-36433-KRH
Richard Clayton Snead, Jr.                                                                                 Chapter 7
Sharon Kay Snead
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0422-7                  User: tateb                        Page 1 of 1                          Date Rcvd: Dec 28, 2018
                                      Form ID: 309A                      Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 30, 2018.
db/jdb         +Richard Clayton Snead, Jr.,    Sharon Kay Snead,   60 Cecelia Court,    Surry, VA 23883-2927
14659663       +Brand Source/citi Cbna,   Attn: Bankruptcy,    Po Box 6403,    Sioux Falls, SD 57117-6403
14659664       +Citibank/The Home Depot,    Attn: Bankruptcy Department,    Po Box 790034,
                 St Louis, MO 63179-0034
14659667       +Mr. Cooper,   8950 Cypress Waters Blvd.,    Coppell, TX 75019-4620
14659670       +Radius Global Solutions, LLC,    P.O. Box 390905,   Minneapolis, MN 55439-0905

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: smarksster@gmail.com Dec 29 2018 03:08:26       Seth Jackson Marks,
                 Pagano & Marks, P.C.,    4510 S. Laburnum Ave.,    Richmond, VA 23231
tr              E-mail/Text: brobinson@iq7technology.com Dec 29 2018 03:09:42        Bruce E. Robinson,
                 P.O. Box 538,    South Hill, VA 23970-0538
14659662        EDI: HNDA.COM Dec 29 2018 07:58:00       American Honda Finance,    Attn: Bankruptcy,
                 Po Box 168088,    Irving, TX 75016-0000
14659665       +E-mail/Text: CCICollectionsGlobalForms@cox.com Dec 29 2018 03:09:28        Cox Communications,
                 1440 E 15th Street,    Tucson, AZ 85719-6400
14659666        E-mail/Text: ktramble@lendmarkfinancial.com Dec 29 2018 03:08:31        Lendmark Financial Ser,
                 2118 Usher St Nw,    Covington, GA 30014-0000
14659668       +EDI: NFCU.COM Dec 29 2018 08:03:00       Navy FCU,   Attn: Bankruptcy,    Po Box 3000,
                 Merrifield, VA 22119-3000
14659669       +EDI: PRA.COM Dec 29 2018 07:58:00      Portfolio Recovery,     Po Box 41021,
                 Norfolk, VA 23541-1021
14659671       +E-mail/Text: bankruptcy@bbandt.com Dec 29 2018 03:08:54        Sheffield Financial,
                 P.O. Box 580229,    Charlotte, NC 28258-0229
14659672       +EDI: RMSC.COM Dec 29 2018 07:58:00       Synchrony Bank/Lowes,    Attn: Bankruptcy Dept,
                 Po Box 965060,    Orlando, FL 32896-5060
14659673       +EDI: RMSC.COM Dec 29 2018 07:58:00       Synchrony Bank/Old Navy,    Attn: Bankruptcy Dept,
                 Po Box 965060,    Orlando, FL 32896-5060
14659674       +EDI: WFFC.COM Dec 29 2018 07:58:00       Wells Fargo Jewelry Advantage,    Attn: Bankruptcy,
                 Po Box 10438,    Des Moines, IA 50306-0438
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 30, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 28, 2018 at the address(es) listed below:
              Bruce E. Robinson   bruce.robinsontr@gmail.com,
               therese.rogerstra@gmail.com;brobinson@IQ7Technology.com;brobinson@ecf.epiqsystems.com
              John P. Fitzgerald, III   USTPRegion04.RH.ECF@usdoj.gov
              Seth Jackson Marks   on behalf of Debtor Richard Clayton Snead, Jr. smarksster@gmail.com,
               hearl@paganomarks.com;smarks@paganomarks.com;vparker@paganomarks.com;kdodson@paganomarks.com;mfol
               ey@paganomarks.com;gcross@paganomarks.com;pballard@paganomarks.com
              Seth Jackson Marks   on behalf of Joint Debtor Sharon Kay Snead smarksster@gmail.com,
               hearl@paganomarks.com;smarks@paganomarks.com;vparker@paganomarks.com;kdodson@paganomarks.com;mfol
               ey@paganomarks.com;gcross@paganomarks.com;pballard@paganomarks.com
                                                                                            TOTAL: 4
